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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :       Case No. 21-CR-367 (RDM)
                v.                              :
                                                :
JALISE MIDDLETON &                              :
MARK MIDDLETON,                                 :
                                                :
                        Defendants.             :

                                     PROPOSED VOIR DIRE

             Proposed Neutral Statement of the Case to Read to Prospective Jurors

        In this case, the defendants, Jalise Middleton and her husband Mark Middleton, are charged

with violating nine separate federal criminal laws based on their actions at the United States

Capitol on January 6, 2021, when the United States Congress was scheduled to meet inside the

Capitol building in a joint legislative session to certify the results of the 2020 presidential election.

In summary, the Indictment charges the Middletons with obstruction of an official proceeding;

assaulting, resisting, or impeding certain officers; entering and remaining in a restricted building

or grounds; disorderly and disruptive conduct in a restricted building or grounds; disorderly or

disruptive conduct in a Capitol building or grounds; and committing an act of physical violence in

a Capitol building or grounds. The Middletons deny the accusations against them.
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                      Government’s Requested General Questions

1. Will the defendants, Jalise Middleton and Mark Middleton, PLEASE STAND. Do you
   know or have you had any contact with either Jalise or Mark Middleton or recognize them
   from any media coverage about the events of January 6, 2021?

2. Jalise Middleton and Mark Middleton are represented by attorneys Robert Jenkins, Jr., and
   Jerry Smith, Jr. PLEASE STAND. Do you know or have you had any contact with any of
   these individuals?

3. The United States is represented in this case by Assistant United States Attorney Sean
   McCauley and Trial Attorney Brendan Ballou. The attorneys are assisted by paralegal
   Brianna Rummens. The FBI case agent assigned to this case is Nicholas Shepard. Each of
   these individuals works for the U.S. Department of Justice. Could you each PLEASE
   STAND. Do you know or have you had any contact with any of these individuals?

4. During this trial, you may hear testimony from or about a number of people. The attorneys
   will now identify for you the names of people who may testify or about whom you may
   hear testimony. Listen carefully and, if you recognize or know any of the people named,
   please write down the name or names and let me know at the appropriate time. The
   Government’s counsel may go first, and then the defendant may list any additional names.

5. Please look around you. Do you know or recognize any other member of the prospective
   jury panel, the courtroom staff or me?

6. The lawyers have predicted that the presentation of evidence in this trial should last about
   one week, but it could be shorter or longer. The jury will sit Monday through Friday,
   generally from 9:30 a.m. to 5 p.m., although the starting and ending times may vary. The
   length of jury deliberations following the presentation of evidence at trial will be
   determined by the jury itself. Do you have an urgent or extremely important matter to attend
   to this week and next, such that you could be faced with a hardship if selected to serve on
   the jury in this case?

7. Do you have any vision, language, or hearing problems, or any other physical or medical
   problems, that would make it unusually difficult for you to serve as a juror in this case, to
   sit for long periods of time without a break, or that might otherwise interfere with your
   ability to hear or understand what the witnesses say in this case, to view exhibits and
   photographs, or to give your full attention to this case?

8. Have you, any member of your family or close friend ever studied law or been employed
   by a lawyer or a law firm, worked in a courthouse, as a paralegal or legal secretary, or
   performed legal investigative work?

9. Have you, any member of your immediate family, or close personal friend ever been
   employed by any local, state, or federal law enforcement agency or a private security
   company? Law enforcement agencies include for example, the Metropolitan Police
   Department, the United States Capitol Police, the U.S. Marshals Service, the Federal
   Bureau of Investigation (FBI), or the police departments of other states or cities.


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    10. Have you, any member of your immediate family, or close personal friend ever been
        employed at the United States Capitol in any capacity?

    11. Have you, any member of your immediate family, or close personal friend had any
        experiences with any law enforcement agency or the government that might cause you to
        favor or disfavor the government or law enforcement?

    12. Have you ever filed a complaint against a police officer or anyone in law enforcement?

    13. Prior to this case, have you ever served as a juror at a civil trial, a criminal trial, or on a
        grand jury?

    14. Have you, any member of your immediate family, or close personal friend ever been the
        subject of a criminal investigation, been arrested for, charged with, or convicted, or been
        sentenced to prison for a crime?

    15. Have you, any member of your immediate family, or a close personal friend ever been a
        victim of or witness to a crime?

    16. Have you ever testified in court or before a grand jury?

    17. Do you have any opinions about prosecutors or defense attorneys that might affect your
        ability to serve fairly and impartially in this trial?

    18. Do you or have you or does any member of your immediate family, or close personal friend
        belong to a group or organization that is active in law enforcement or crime victim
        prevention matters? Some examples of such organizations include: Fraternal Order of
        Police, Crime Watch, Crime Stoppers, Orange Hats, or other organizations, including any
        groups on the Internet, which monitor or discuss neighborhood crime issues.

    19. I will be instructing the jury in this case that the testimony of law enforcement officers
        should be treated the same as the testimony of any other witness and that the jury should
        not give either greater or lesser weight to the testimony of a witness simply because that
        witness works in law enforcement. Do you have such strong feelings about law
        enforcement—either positive or negative—that it would be difficult for you to follow this
        instruction or be a fair juror in the case? 1

    20. The defendants have entered pleas of not guilty to all the charges. In a criminal case, a
        defendant is presumed innocent unless and until the government proves the defendant’s
        guilt beyond a reasonable doubt. Will you have any difficulty accepting or applying this
        rule of law?

    21. To reach a verdict on a particular charge, every juror must agree on the verdict. That is,
        any verdict must be unanimous. In deliberations you must consider the opinions and points
        of your fellow jurors, but you must also follow your own conscience and be personally

1
 The defense requests that the phrase “such strong” be struck from the second sentence of this
question.


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       satisfied with any verdict. Would you have difficulty expressing your own opinions and
       thoughts about this case to your fellow jurors?

    22. This case involves evidence recovered during the execution of a court-approved search
        warrant. Do you have such strong feelings about the execution of court-approved search
        warrants that would make it difficult for you to be fair and judge this case on the evidence
        presented in court? 2

    23. Do you know of any other reason that I haven’t asked about that would prevent you from
        following my instructions on the law and being completely fair and impartial as a juror in
        this case? For example, do you have any moral, religious, or ethical beliefs that prevent
        you from sitting in judgment of another person?

            Government’s Requested Specific Questions Regarding January 6, 2021

    24. Do you, any member of your immediate family, or close personal friend live or work near,
        or have any special familiarity with the United States Capitol or the area surrounding the
        Capitol? In this case, “near” means the immediate vicinity of the Capitol complex.

    25. Were you, any member of your immediate family, or close personal friend present at or
        near the Capitol on January 6, 2021?

    26. Have you closely followed news about the events that took place at the Capitol on January
        6, 2021? 3

    27. Some people have strong feelings—both positive and negative—about the events that
        occurred on January 6, 2021. Do you believe that you can sit fairly and impartially in a
        case in which a defendant is charged in connection with the events of that day?

    28. Have you seen, heard, or followed anything in the news or elsewhere about specific
        individuals who were present at the Capitol on January 6, 2021? 4

    29. Do you have any impressions or feelings, positive or negative, about how the Department
        of Justice has been handling the criminal cases arising from the events at the U.S. Capitol
        on January 6, 2021, that would make it hard for you to be a fair and impartial juror in this
        case?

    30. Have you seen, heard, or followed anything in the news or elsewhere about specific
        individuals who were present at the U.S. Capitol on January 6, 2021? 5

2
  The defense requests that the phrase “such strong” be struck from the second sentence of this
question.
3
  The defense requests that the court also inquire about the news source from which the prospective
jurors have received their news or information about January 6, 2021. The government objects to
asking the jurors their news sources.
4
  See supra at footnote 3.
5
  See supra at footnote 3.


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    31. Do you have any personal feelings or opinions about the outcome of the 2020 presidential
        election, such that it would impact your ability to be fair and impartial in this case? 6

    32. Do any of you believe that the 2020 presidential election was stolen, corrupt, or
        fraudulent? 7

    33. I will be instructing the jury that it may consider only evidence that was properly admitted
        in this case, and the law as I instruct it, and not anything jurors may have seen or heard
        outside this courtroom about the events at the U.S. Capitol on January 6, 2021. Is there any
        reason it would be difficult for you to set aside whatever you have seen or heard and
        whatever feelings or opinions you have about that, to follow my instructions, and to be a
        fair and impartial juror in this case?

                                   Defense’s Requested Voir Dire

    34. Do you believe that most of the individuals who attended the events at the U.S. Capitol on
        January 6, 2021, were involved in some criminal behavior? 8

    35. Do you have any negative feelings toward terms such as “America first”, “MAGA”, or
        “make America great again.” 9

    36. Are you, or have you ever, been a member of any group associated with Black Lives
        Matter, Occupy Movement, or Antifa? 10

    37. Have you, or has a member of your family, ever been a police officer or military police
        officer or worked in a security field either for the state or national government or for private
        industry?

    38. Has any member of that group ever worked for the court system as a clerk, probation
        officer, parole officer, or in any other capacity?

    39. Do any of you believe that a police officer or a member of the FBI is more worthy of belief
        than any other citizen of our community? 11



6
  The defense requests that this question be asked as follows: “Do you have any personal feelings
or opinions about the outcome of the 2020 presidential election, that would prevent you from being
fair and impartial in this case?”
7
  The defense objects to this question.
8
  The government requests that this question be asked as follows: “Do you understand that many
people participated in the events that took place in Washington, D.C., on January 6, 2021, and that
each person who participated must be judged guilty or not according to their specific conduct?”
9
  The government objects to this question.
10
   The government objects to this question.
11
   The governments objects to this question as redundant of Question 19.


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     40. Does your job cause you to work with the District of Columbia Metropolitan Police
         Department?

     41. Have you or your immediate family members ever served in the military? If so, in what
         capacity?

     42. Do any of you know any of the other potential jurors siting in this room? If so, would your
         knowing that person cause you to change your position on the verdict in this case if that
         person had a position different than you?

     43. Do any of you have difficulty reading, speaking or understanding English? Do any of you
         have a problem with your hearing or your eyesight that might make it difficult to hear or
         see the evidence presented in this case?

     44. Do you agree with the fact that an indictment is merely a device for setting in motion the
         presentation of a case to the jury; that it is not proof and that no unfavorable inference may
         be drawn against a person merely because he is charged with a crime?

     45. Do all of you believe the basic constitutional presumption that every person charged with
         a criminal offense is presumed innocent of any crime until proven guilty beyond a
         reasonable doubt? Would you have any difficulty applying this presumption? 12

     46. So as you look to the defense table, do you believe completely that the person sitting there
         as a defendant is innocent of any crime until and unless the Government proves its case? 13

     47. Do you understand that the burden of proof rests with the prosecution?

     48. Do you understand and accept the principle that a defendant in a criminal case is not
         required to explain his or her side of the case since the burden of proof does, in fact, rest
         with the prosecution? 14




12
   The government objects to this question as redundant of Question 20.
13
   The government objects to this question.
14
   The government requests that this question and Questions 53-55 be asked as a single group as
follows: “Do you understand that the defendants have an absolute right to choose whether to testify
or not? Do you understand that, if both or either defendant chooses not to testify, you must not
hold their decision not to do so against them? Do you understand that, if either or both defendants
choose not to testify, you must consider their testimony with same weight as you would any other
witness?” The government objects to the defense’s proposed part of this question regarding the
government’s burden of proof as redundant of Question 47, to which the government does not
object.


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     49. If, after you hear the evidence, you thought that the Defendant was probably guilty--you
         weren't convinced and you thought the evidence showed he was probably guilty--would
         you nevertheless be able to return a verdict of not guilty in this case? 15

     50. Would any of you change your verdict if a majority of the other jurors believed that a
         person was guilty and you were in the minority? 16

     51. Do you realize that the Assistant U.S. Attorney and defense counsel are both lawyers, equal
         in the eyes of the law, each doing his best to represent his client? 17

     52. Are you going to give more weight to the arguments of the prosecutor than to defense
         counsel merely because they bear the impressive title "Assistant U.S. Attorney"? 18

     53. If the defendants should take the stand and testify, will you judge their testimony by exactly
         the same standards you use for judging the truth of the testimony of all witnesses? 19

     54. Do you feel that because the defendants are accused of a crime, you ought to place some
         special qualifications on their testimony?

     55. Will you consider and judge the defendants’ testimony by the same rules and standards you
         would use in judging the testimony of any other witness in this case?

     56. Do you have any belief or opinion that the offenses with which the defendants are charged
         is unique in any respect, in the sense that they should be pursued with extraordinary
         vigor? 20

     57. Is there anything at all about the criminal charges here involved that would make you
         prejudiced against someone who's merely accused of it? 21

     58. Do you realize that if you are offended by the nature of the charge, if someone was accused
         of a crime horrible enough, he could never be tried fairly as to whether or not in fact he did
         the act alleged? 22

     59. If you are selected as a juror in this case, the judge will instruct you to avoid and not seek
         out media coverage about this case or about Mr. and Ms. Middleton. The judge will instruct

15
   The government objects to this question as redundant of Question 20.
16
   The government objects to this question.
17
   The government objects to this question.
18
   The government objects to this question.
19
   See supra at footnote 14.
20
   The government objects to this question.
21
   The government objects to this question as redundant of Question 33.
22
   The government objects to this question.


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        you not to google or search for information about this case or Mr. and Ms. Middleton on
        the internet. Do you have any questions or concerns about your ability to follow such
        instructions?

     60. You are to decide this case based only on the evidence presented in court and not based on
         anything you may have learned about the events of January 6 from outside sources such as
         the news or social media. Can you put aside what you may have already learned about the
         events of January 6 and any opinions you may have already formed about the people
         involved in those events when considering the evidence in this case? 23

     61. Do you think that, if a person was on the grounds of the U.S. Capitol on January 6 when
         people were storming the building, that that person was likely trying to stop, delay, or
         interfere with the certification of Electoral College votes for Joseph Biden as President? 24

     62. Do you think that people who participated in the events at the U.S. Capitol on January 6
         are likely guilty of criminal wrongdoing? 25

     63. What social media platforms do you use, how often do you use them, and what do you use
         them for? 26




23
   The government objects to this question as redundant of Question 33.
24
   The government objects to this question. The government also notes that the proposed question
in footnote 8 sufficiently inquires of the jurors’ ability to judge the defendants individually.
25
   The government objects to this question as redundant of Questions 29, 31, and 33
26
   The government objects to this question.


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